Case 4:06-mj-00074-GMF Document 11-2 Filed 06/14/06 Page 1 of 2

AFFIDAVIT OF TODD M. KALISH

1. Todd M. Kalish, being duly sworn, deposes and says that:

I am a Special Agent with the Federal Bureau of Investigation (FBI), United States
Department of Justice. I have been a Special Agent with the FBI for three years. I am
currently assigned to the Columbus, Georgia FBI office.

2. This affidavit is based on my personal knowledge, as well as information provided to
me by other law enforcement officers familiar with the investigation and interviews of
witnesses.

3. On June 5, 2006, Saleh Al Suwailem, a Saudi Arabian national, was at Ft. Benning,
Georgia, where he was undergoing the process to become an Arabic interpreter for the
L3 Communications, which contracts to hire interpreters for operations in Iraq. On that
date, Saleh Al Suwailem was informed that he was not going to be hired as an interpreter,
for the reason that he had been denied a security clearance. He was also told that he
would have to fly home to Boise, Idaho, on June 6, 2006. He had a reservation to fly on
Delta Airlines.

4. After learning that he was not going to be employed by L3 Communications, Saleh Al
Suwailem started drinking with acquaintances in the vicinity of the Conus Replacement
Center (CRC) at Ft. Benning. Saleh Al Suwailem was upset that he did not get the job
and had to fly home the next day, so he spontaneously stated “Okay, I’m going to bomb
the plane.” The incident was reported to the Chief of Operations of the Linguist
Operations branch for L3 Communications, Brian P. McCall.

5. McCall brought Al Suwailem into his office on the morning of June 06, 2006 and
asked Al Suwailem if he had made the threat to bomb a plane. Al Suwailem stated that he
did, but he was making a joke. McCall alerted the Federal Bureau of Investigation (FBI)
and reported the incident.

6. On June 6, 2006, Al Suwailem was interviewed by FBI Special Agent Todd M. Kalish
and Drug Enfrocement Administration (DEA) Special Agent Steve Rabola. During the
Case 4:06-mj-00074-GMF Document 11-2 Filed 06/14/06 Page 2 of 2

interview, Al Suwailem admitted that he had made the statement that he was going to
bomb the plane. He also stated that when he made the statement, he was upset, had been
drinking and did not intend to actually bomb a plane. He attributed the statement about

the bomb to being upset and not to alcohol.

Zn €,

TODD M. KALISH, SPECIAL AGENT
FEDERAL BUREAU OF INVESTIGATION

Sworn to and subscribed before
me this Pay of J 2006.

    

 
